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            In the United States Court of Federal Claims
                                  No. 02-1795 C
                              (Filed August 25, 2006)

***********************************
THE SWEETWATER, A WILDERNESS *
 LODGE LLC,                         *
                    Plaintiff,      *               Term Special Use Permit;
                                    *               Equitable Consideration for
                    v.              *               Permit Termination; Contract
                                    *               Disputes Act; Taking.
THE UNITED STATES,                  *
                                    *
                    Defendant.      *
************************************

      Kevin R. Garden, Alexandria, Virginia, for the plaintiff.

      John H. Williamson, Department of Justice, Washington D.C., with whom were
Assistant Attorney General Peter D. Keisler, David M. Cohen, Director, Kathryn A.
Bleecker, Assistant Director, and Kenneth S. Capps, Attorney-Advisor, Office of
General Counsel Mountain Region, U. S. Department of Agriculture, for defendant.

                                    OPINION

Merow, Senior Judge.

      In this litigation plaintiff, The Sweetwater, A Wilderness Lodge, LLC, (“The
Sweetwater”) seeks to recover approximately $2,500,000 in damages stemming from
actions and inactions of the Forest Service, United States Department of Agriculture,
in connection with a Term Special Use Permit (“Term SUP”) issued for plaintiff’s
operation of lodge and cabin facilities it acquired located in the Shoshone National
Forest (“Shoshone”) approaching the eastern entrance to Yellowstone National Park.

       Evidence was received at a ten-day trial in Cody, Wyoming, at which testimony
totaling 2,985 pages was presented from 17 witnesses and 114 exhibits, some lengthy,
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were introduced. The following facts and conclusions are derived from the evidence
received.

                                       FACTS

       Wyoming State Highway 14/16/20, called the “Yellowstone Highway” or
“North Fork Highway” runs west from Cody, Wyoming through the Shoshone
National Forest to Yellowstone National Park. There are some twelve lodge facilities
operated along the Yellowstone Highway under Forest Service Term Special Use
Permits. Because of environmental restrictions resulting from agreements reached
in connection with the reconstruction of this highway in the 1990s, it is unlikely that
any additional such permits will be forthcoming. The lodges along Yellowstone
Highway generate most of their income during the period of time the eastern entrance
to Yellowstone National Park is open – generally from Mother’s Day (second Sunday
in May) to October 15th. After the eastern entrance to Yellowstone closes for the
winter, the Yellowstone Highway becomes, in effect, a road to nowhere. Some of the
lodges do remain open and have limited winter activities.

        Highway 14/16/20 runs along the North Fork of the Shoshone River. The
spring melting of the winter snow cover results in high water runoff in this river and
its tributaries through the middle of July and serves to replenish the Buffalo Bill
Reservoir created by the Buffalo Bill Dam across the Shoshone River. This extensive
reservoir is the source of Cody, Wyoming’s water supply.

      Approximately 27 miles beyond Cody, Wyoming and 15 miles beyond the
Buffalo Bill Reservoir traveling toward Yellowstone National Park is a turnoff on the
Yellowstone Highway for the Wapiti Campground maintained by the Forest Service.
Beyond the campground, the Forest Service maintains a bridge, Number 423-0.2,
over the North Fork of the Shoshone River. In April of 1982, the Forest Service
contracted for the removal of an old suspension bridge at this site and for the
construction of two abutments and two piers and the placement of a government-
furnished prefabricated bridge over the North Fork of the Shoshone River. The
contract also provided for the installation of curbs and running planks on the bridge.
The total contract price paid was $86,897.71 and the work was accepted on May 15,
1982. The bridge was designed for a 10,000 pound vehicle load – the design vehicle
being a pickup truck. The narrow seven foot, nine inch inside curb restricts
commercial vehicle access.

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       The road leading to Bridge 423-0.2 and beyond is Forest Service Road Number
423. On Forest Service maps at the relevant times, Road 423 is designated as a dirt
or gravel road, Maintenance Level II, which indicates maintenance for high clearance
vehicles. The road is 3.5 miles long terminating at The Sweetwater Lodge site. This
lodge site is unique among the twelve lodges located along the Yellowstone Highway
in that the others are all located within ¼ mile of the highway whereas The
Sweetwater is 3.5 miles away from the highway approaching the designated
wilderness area of the Shoshone National Forest.

       The Shoshone National Forest has a goal to decommission excess Forest
Service roads for environmental and wildlife conservation reasons and to conserve
needed maintenance funds. The evidence in this litigation demonstrates that, while
Road 423 is used to some degree by hunters and for access to more pristine forest
areas, were it not for the presence of the lodge at its terminus, it would some time ago
have been a strong candidate for decommissioning by the Forest Service.

       Forest Service Road 423 runs along Sweetwater Creek which flows into the
North Fork of the Shoshone River. Proceeding up Road 423 from Bridge 423-0.2
toward the lodge site two bridges cross Sweetwater Creek, Numbers 423-2.5 and 423-
3.0. The Forest Service records indicate these bridges were probably built in the early
1960s or 1970s and were last load rated in 1974. This load rating would not remain
valid for any time relevant to this litigation.

      In March of 1992, the Shoshone National Forest submitted a request for
$188,000 in appropriated funds, with no private contributions contemplated, for
“replacing two bridges on the access road in Sweetwater Canyon on the Wapiti
Ranger District . . . .” The request reported that “[d]eterioration of the substructure
requires immediate attention in order to insure the safety of the users.” It was also
reported that:

      This project is needed to provide continued vehicular access in a safe
      manner. This road is one of the few on the Wapiti R.D. and as such
      provides for motorized recreational opportunities. The road also
      provides the only access for the permitted lodge owner and it’s [sic]
      users. If the bridges are not replaced the government risks legal action
      should an accident occure [sic]. A second legal risk stems from the



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       probable loss of business by the lodge permittee, if access is lost or
       limited by the unsafe bridges.
(Jt. Ex. 5.)

       In August of 1992, the Forest Service arranged for bridge inspectors from the
Wasatch-Cache National Forest to travel to the Shoshone National Forest and inspect
bridges including the two Sweetwater Creek bridges, Nos. 423-2.5 and 423-3.0. At
the conclusion of the inspection, the inspectors reported to the Shoshone National
Forest Engineer, James Fischer, their concerns about bridges Nos. 423-2.5 and 423-
3.0. The inspectors stated that the bridges should be closed. A substantial discussion
ensued with Mr. Fischer indicating that closure was not possible because of the need
for public traffic to the lodge and a solution was reached to install “weight limit three
tons” signs. No actual load rating of the bridges was done. The “three ton” limit was
chosen because it covers a small vehicle roughly the size of a passenger car or a
pickup truck. It was considered the bridges could safely carry that load. The 1992
Inspection Reports prepared by the inspectors and included in the Forest Service files,
provided recommendations that Bridge 423-2.5 “BE REPLACED IN ENTIRETY”
and for Bridge 423-3.0 “REPLACEMENT OF ABUTMENTS &
SUPERSTRUCTURE.” (Def.’s Ex. 9-10.)1/

      The Forest Service records show that in 1993, there were plans to design the
Sweetwater Bridges in 1994 and construct them in 1995, but in 1994 the project was
indefinitely postponed. (Jt. Ex. 2.)

       The facilities reached at the terminus of Forest Service Road 423 consist of a
lodge, a chalet, and five cabins. The lodge was constructed in 1915. The original
structure was a hand-hewn log cabin comprising about 960 sq. ft. It was remodeled
in 1966 and an addition was built around 1980. The present structure encompasses
2,209 sq. ft. with porches of 40 sq. ft. and 140 sq. ft. The lodge includes a dining
area, living area, two small storage rooms, full bath, half bath, pantry and kitchen.
The living and dining areas have exposed beams with wood ceilings and walls. There
is a native rock fireplace in the living room. Heat is provided by electric baseboard.

       1/
          Defendant proposed a finding that the Forest Service also had posted a sign on Road 423
to the effect the road was not maintained for passenger cars. This finding is not made as creditable
witnesses contradicted the testimony on which defendant relied for the proposed finding and in the
numerous pictures of Road 423 introduced into evidence there is no evidence of such a posting.
Rather, it appears that the only posted restrictions were the weight limit signs at each bridge.

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There is an electric transmission line to the property under a permit issued to Pacific
Power and Light Company. Mountain States Telephone and Telegraph Company
(QWEST) holds a permit covering 3.445 miles of buried cable from the Wapiti
Campground to the lodge site. Domestic water is from a shallow well with water
piped to all structures. There are four septic systems servicing the seven habitable
structures on the site.

      The chalet was originally constructed in 1930 and has been remodeled since
then. The structure has a second-story loft and an unfinished basement. The exterior
walls are log siding. The main level contains living quarters, an enclosed porch and
an outside wood deck. The loft area is used as a bedroom. The living quarters
include a living room, kitchen and full bath. Heating is electric baseboard.

       The five guest cabins, named Absaroka, Ptarmigan, Mt. Pleasant, Ishawooa,
and Sweetwater, were all constructed around 1930 and have been remodeled.
Absaroka Cabin has a kitchen/dining area, dressing room, bedroom and bath. The
structure has a native rock fireplace. Heat is electric baseboard. The Absaroka Cabin
structure measures approximately 470 sq. ft. plus a covered porch of some 124 sq. ft.
The remaining four cabins are all replicas of each other, each containing around 355
sq. ft. These cabins comprise a sitting/bedroom with native stone fireplace,
bathroom, and porch. Exterior walls are log siding. Heat is electric baseboard.

      If one were to commence construction to reproduce new the above-described
lodge, chalet, five cabins and site improvements, at 2005 costs, the evidence
presented in this litigation demonstrated that the expense would total slightly in
excess of $2,000,000, of which approximately $1,600,000 would be actual
construction cost and the remainder indirect costs. Construction cost would be
impacted by the remote location of the site which is rimmed by pristine wilderness.

       In 1983, the Forest Service and H. David Brannon and Nancy Brannon, d/b/a
Brannon’s Wilderness Lodge executed a Term Special Use Permit, amended in 1985,
covering the 15.4 acres at the terminus of Forest Service Road 423 for the purpose of
“[m]aintaining and operating a public resort consisting of lodge, cabins, dormitories,
corral, tack shed, horse rentals, satellite dish and antenna, water and sewage systems
and utility lines. Performing cooperative maintenance responsibilities with the Forest
Service on 3.5 miles of access road (FDR 423) in accordance with attached Exhibit
B.” (Jt. Ex. 3.)

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       The “Exhibit B” referenced comprised a Memorandum of Understanding for
Cooperation in Road Maintenance (“MOU”) between Brannon’s Wilderness Lodge
and the Forest Service wherein Brannons assumed road maintenance responsibility
for their traffic (that generated from the use of lands involved in operating and
maintaining the guest lodge) and the Forest Service assumed road maintenance
responsibility for all National Forest traffic (that generated by the use of National
Forest lands or road systems for recreation purposes other than lodge traffic) and for
two bridges (FS No. 423-2.5 and FS No. 423-3.0 – the Sweetwater bridges) including
abutments and approaches. The MOU included a special clause stating: “1. Nothing
herein shall be construed as obligating the FOREST SERVICE to expend or as
involving the United States in any contract or other obligations for the future payment
of money in excess of appropriations authorized by law and administratively allocated
for this work.” (Jt. Ex. 4.)

       The MOU contemplated that a yearly Joint Road Maintenance Plan would be
developed. The 1985 Plan provided that Brannon’s Wilderness Lodge would grade
Road 423 approximately four times per year and the Forest Service would pay their
proportionate cost, providing “that the Forest Service has available funds.” For FY
86, the Forest Service agreed to “contribute no less than $1,000 toward their
proportionate share of road maintenance in FY 86.” The MOU also provided “4.
New construction or reconstruction, such as bridge replacement, will be agreed to as
part of the yearly Joint Maintenance plan.” (Jt. Ex. 4/3, 4/5.)

       H. David Brannon (“Dave Brannon”) and Nancy Brannon operated Brannon’s
Wilderness Lodge as a destination resort. Guests were not obtained from traffic along
Yellowstone Highway. Most guests made reservations in advance. The Brannons
resided at the site. Mrs. Brannon was an excellent cook. On weekends the lodge
would, for a fixed fee, approximately $250.00, arrange a gourmet feast which covered
the “feast,” lodging for one night and a champagne breakfast. People residing in the
area who did not require overnight accommodations could also make reservations for
a gourmet meal. The witnesses in this litigation, who resided in the local area during
the Brannons’ operation of the lodge, testified that a meal at the lodge was a most
enjoyable experience.2/ Although the Forest Service listed the road (No. 423) to the


       2/
          It is noted, but not relied upon in the resolution of this matter, that the Bowker Biography
listing for Nancy Brannon (http://www.bowkerbios.com/bowkerbios/nancy_brannon.htm) states that
                                                                                          (continued...)

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lodge as maintained for high clearance vehicles, many guests traveled the road in
passenger cars. Dave Brannon drove a small Renault back and forth daily. The
Brannons owned a tractor with a blade and used it to grade the road whenever it was
needed to maintain clearance for all vehicular traffic to the lodge. More serious
access problems were handled by the Forest Service. For instance, Forest Service
employee, Michael (“Mike”) Bree recalled an incident where a summer rainstorm
caused high water that washed out a portion of Road 423 prompting a panic call from
Dave Brannon that the lodge was stranded and he needed to get out. The Forest
Service sent a bulldozer to open up the road. (Tr. 780.)

      Forest Service records show that Brannon’s Wilderness Lodge reported it
received gross income of $83,287 for 1990, $82,548 for 1991, $78,291 for 1992,
$73,104 for 1993, and $93,641 for 1994.

       By 1995, the work of maintaining and operating the lodge was becoming too
much of a burden for Dave Brannon and the Brannons reached a decision to move to
Oregon where they contracted to purchase a boat and planned to operate it as a
restaurant. The Brannons listed the Wilderness Lodge site improvements for sale
with a broker at $495,000. Wanda Smith, who operated a lodge in the Jackson Hole,
Wyoming area obtained financial backing and contracted to purchase the
improvements from the Brannons for $450,000. The Term SUP which governed the
Brannons’ operation of the Wilderness Lodge as a public resort provided that “[i]f the

       2/
          (...continued)
she is an author of four popular cookbooks and describes the Wilderness Lodge operation as follows:

       She and her husband Dave built an excellent reputation while they owned and operated ‘Brannon’s
       W ilderness Lodge’ . . . a gourmet Italian feasting place in the Rocky Mountains outside Yellowstone
       National Park. During their nearly fourteen year stay there, they were featured in magazine and
       newspaper articles throughout the country, including Bon Appetite, Travel and Leisure, Family Circle,
       The Atlanta Journal and Constitution, The Miami Herald, The San Francisco Chronicle and others.
       The lodge featured an 8-course authentic Italian ‘feast’ that took 31/2 to 4 hours to complete. Nancy
       made everything from scratch including all the breads, soups, sauces, pastas, entrees and desserts …
       buying nothing pre-prepared. During the intermissions, guests were invited to take their wine and
       wander down to the creek, or in by the fireplace, depending on the season. After a relaxing evening,
       guests would stroll up to their cabins for a peaceful night’s sleep. The next morning, a sumptuous
       champagne brunch awaited them in the dining room. Truly a ‘special occasion place’, Brannon’s
       W ilderness Lodge was the scene for many marriage proposals, birthday and anniversary celebrations,
       as well as wedding parties. They felt privileged to be able to say that they had served guests from all
       50 United States and 28 foreign countries.




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person to whom title to said improvements shall have been transferred in either
manner above provided is qualified as a permittee, and is willing that his future
occupancy of the premises shall be subject to such new conditions and stipulations
as existing or prospective circumstances may warrant, his continued occupancy of the
premises will be authorized by a permit to him, which may be for the unexpired term
of this permit or for such new period as the circumstances justify.” (Jt. Ex. 3/2.)

        Before closing on the sale with the Brannons, Wanda Smith contacted the
Forest Service to inquire with respect to the terms of a permit. Jennifer Watson was
then the head of the Forest Service team responsible for the administration of Term
SUPs. The team also included Mike Bree and Monte Barker. Ms. Smith was shown
the MOU in effect with the Brannons’ permit concerning road maintenance and
discussed the Sweetwater bridge conditions with the Forest Engineer, James (“Jim”)
Fischer. Mr. Fischer informed Ms. Smith that the two bridges were not in good
condition and it might be necessary to resort to fords over the Sweetwater Creek if
a bridge washed out. On April 11, 1995, Mr. Fischer had sent an E-mail indicating
that road maintenance funds set aside were not enough to replace the bridges and he
intended to propose a project to take out the bridges. The remainder of the E-mail is
missing (Jt. Ex. 6), but in testimony, Mr. Fischer confirmed that he contemplated then
using fords. He did recall that the Sweetwater bridge replacement project was, at that
point, not in the Forest’s Capital Improvement Program, but he intended to reinstate
it. (Tr. 1412-16.) Jennifer Watson and Mike Bree also accompanied Ms. Smith on
a site visit to the Wilderness Lodge and while there took photographs and developed
a list of items that required correction. During her contacts with the Forest Service,
Ms. Smith expressed concern about road maintenance and indicated she did not
contemplate operating a road grader. The bridge situation also caused concern. Ms.
Smith did not show up for the closing of her contract to buy the lodge improvements
from the Brannons and the deal collapsed.

       Having signed contracts for their Oregon move, the collapse of the Smith deal
left the Brannons in a difficult situation. Dave Brannon blamed the Forest Service
for the collapse and made his frustration with the personnel involved clearly known.
Mr. Brannon also contacted local real estate broker Ralph (“Buck”) Wilkerson to find
a substitute buyer. The listing price was dropped from $495,000 to $375,000 in
hopes of obtaining a quick sale. Mr. Wilkerson attempted to contact persons who had
expressed an interest previously in purchasing the lodge but was not successful. He
then called Jeffrey (“Jeff”) C. Mummery with whom he had previous business

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relations and told him that he thought there was an opportunity to obtain the lodge at
a very good price. Mr. Mummery is in the business of buying and selling real estate.
Mr. Mummery’s prior experience included working as a guide for an outfitter as well
as operating a hotel/resort on the Yellowstone Highway between Cody and
Yellowstone National Park.

       The same day that Mr. Wilkerson informed him of the opportunity, Mr.
Mummery visited the lodge with his friend, Gary Fales, who owns Rimrock Ranch,
another North Fork lodge. On this visit they encountered Mrs. Brannon who was
distraught that the sale to Ms. Smith had not closed. They had packed their
belongings in anticipation of moving. Mr. Fales recommended that Mr. Mummery
buy the lodge. Mr. Mummery returned to look at the lodge again on Saturday, May
20, 1995, and spoke to Dave Brannon. On Sunday morning, May 21, 1995, Mr.
Mummery sent Mr. Brannon an offer to buy the improvements for $275,000. The
Brannons faxed a counter-offer for $287,000, which Mr. Mummery accepted.
Closing was set for June 21, 1995. On June 9, 1995, a certificate of organization for
The Sweetwater was filed with the Wyoming Secretary of State. Mr. Mummery is the
managing member of The Sweetwater, A Wilderness Lodge, LLC, a Wyoming
corporation.

       Mr. Mummery on behalf of The Sweetwater had meetings with the Forest
Service prior to the scheduled June 21, 1995 closing on the sale with the Brannons.
On June 12, 1995, Mr. Mummery and his attorney, William (“Bill”) Simpson, met
with the Forest Service personnel, Mike Bree, Monte Barker, and Robert (“Bob”) W.
Rossman. Mr. Rossman was employed at the Shoshone National Forest from 1980
to 1999. He began as the Forest Hydrologist and from 1994 to 1996, served as the
Acting District Ranger for the Wapiti District, which includes Road 423 and the lodge
area. The Forest Supervisor, who was the top official in the Forest, had delegated
authority to the Forest District Rangers to sign Term SUPs for the supervisor and to
carry out the administration of the permits thereafter. Forest Service employees Bree
and Barker were part of the team then in place to deal with Term Permits, under the
supervision of the Acting District Ranger. Mr. Rossman was aware at the June 12,
1995 meeting that he would, on behalf of the Forest Supervisor, subsequently be
executing the new Term Special Use Permit for the lodge site with The Sweetwater.

     The June 12, 1995 meeting was scheduled to discuss the terms for The
Sweetwater permit. At the meeting Mr. Mummery, acting for The Sweetwater, upon

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advice of counsel, opposed a MOU covering road maintenance, such as existed for
the Brannons, unless Road 423 could be privatized to permit only traffic to the lodge
site. For liability and insurance reasons, Mr. Mummery did not want to be
responsible for maintenance on a road open to the public beyond the permitted 15.4-
acre site, which was to be The Sweetwater’s responsibility to maintain and operate.
The Term Permit proposed required The Sweetwater to obtain public liability
insurance for property damage and death or injury to individuals, “rising out of the
holder’s activities under the permit . . . ,” and to name the United States as a co-
insured. The Sweetwater could not obtain this insurance if its activities covered road
maintenance. It was agreed that no MOU would be executed.

       Also, discussed at the meeting was the action the Forest Service would take if
a Sweetwater bridge became unusable or was washed out. Mr. Mummery and The
Sweetwater’s counsel, Mr. Simpson, were aware that it did not make sense to buy the
lodge if one couldn’t get there and were seeking some commitment that in the event
of a bridge washout, steps would be taken to get it back up where it was passable and
The Sweetwater could conduct a business. The Forest Service personnel could not
provide a guarantee that funds would be available in the future for bridge
replacement, but did assure The Sweetwater that they would make their best effort to
obtain replacement funds. These funds had to come from congressional
appropriations through the Forest Region, located in Denver, Colorado, where they
would be allocated to cover requests by the Shoshone National Forest. It was
indicated that obtaining bridge replacement funds could take a substantial period of
time, perhaps three years, and, while success could not be guaranteed, the Forest
Service personnel would do their best to maintain access to the lodge site. In the
event of a bridge washout it was represented that the Forest Service could construct
a ford over Sweetwater Creek to preserve access to the lodge site, but this would be
a temporary measure and would not interfere with attempting to obtain funds to
replace the bridge.

       The evidence admitted in this litigation is clear that, while several Forest
Service officials had the view that the lodge could be operated on a permanent basis
with fords over Sweetwater Creek, in fact, The Sweetwater site could not be operated
successfully if fords were installed in lieu of bridges over Sweetwater Creek. This
is because high water up to the middle of July would preclude access over fords, even
by high clearance vehicles, and this would eliminate a substantial portion of the
operating season. Defendant’s expert witness reported that, “[f]ords do not work,

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there is no net operating income left, even prior to constructing fords; . . .” (Pl.’s Ex.
66.) In the event of a washout, Mr. Mummery did agree to the use of fords on a
temporary basis pending Forest Service action to obtain bridge replacement funds.

       Consistent with the Forest Service’s responsibility to maintain Road 423, Mr.
Mummery objected to the inclusion in the forthcoming permit of a clause like clause
44 of the Brannon Permit. This clause could be read to indicate that no government
agency would furnish road maintenance. It was agreed that this clause would not be
included in the forthcoming permit.

       At the June 12, 1995 meeting the existence of the 1992 Bridge Inspection
Reports was not disclosed and Mr. Mummery was not aware of the recommendations
that the bridges be replaced, or the actions of the Forest Service in requesting
replacement funds in 1993 which action was indefinitely postponed in 1994. From
observation he was aware that The Sweetwater bridges had a posted 3-ton weight
limit and required attention. He was aware that Wanda Smith had not closed on her
contract with the Brannons, but was not aware of her discussions with the Forest
Service on road maintenance. Mr. Mummery attributed her failure to close on lack
of financing.

       On June 13, 1995, Mr. Rossman sent the following E-mail message (Def.’s Ex.
18) to James Fischer with copies to Mike Bree, Monte Barker, and Jennifer Watson:

      JIM, FYI – WE HAD A MEETING WITH JEFF MUMRY [sic] AND
      BILL SIMPSON YESTERDAY ON THE PENDING SWEETWATER
      DEAL. THE MAJOR TOPIC WAS, GUESS WHAT???, THE ROAD.
      HERE’S WHERE WE ENDED UP: JEFF DOESN’T HAVE A
      PROBLEM WITH GOING TO FORDS AS A CONTINGENCY FOR
      BRIDGE FAILURE OR UNSAFE BRIDGE CONDITION. WE ALSO
      AGREE NOT TO HAVE A ROAD M.T.C. AGREEMENT. JEFF IS
      CONCERNED ABOUT THE LIABILITY HE ASSUMES FOR
      GENERAL PUBLIC, AS OPPOSED TO GUESTS. OUR APPROACH
      IS TO MAINTAIN THE ROAD IN ACCORDANCE WITH OUR
      SYSTEM OF SETTING PRIORITIES ZONALLY, WHERE THE
      LIABILITY IS BASICALLY OURS ANYWAY. JEFF, HAVING AN
      INTEREST IN THE SAFETY OF HIS GUESTS, WILL MAINTAIN
      THE ROAD AS HE SEES FIT WHILE WE WILL COMMUNICATE

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      AND MONITOR PROBLEM AREAS INFORMALLY (WITHOUT
      THE AGREEMENT). IT IS UNDERSTOOD THAT WE DO NOT
      HAVE A PRIORITY ON MAINTAINING THIS ROAD, AND ARE
      NOT LIKELY TO ALLOCATE DOLLARS TO IT. WE ARE
      LEANING TOWARD THE USE OF SOME GOOD SIGNING FOR
      PEOPLE WHO MAY ENTER THE AREA (NEED TO THINK ABOUT
      LIABILITY ASPECTS OF THAT, AS WELL). MIKE, MONTE,
      DOES THIS JIBE WITH YOUR RECOLLECTIONS?

      On June 15, 1995, Mr. Mummery, as the Manager for The Sweetwater, A
Wilderness Lodge, LLC, submitted to the Forest Service The Sweetwater’s
application (Def.’s Ex. 19) for a Term Permit to “Operate existing Lodge for Public
Services (Food, Lodging, Trail Rides, Gift Shop & other appropriate services).”
Included with the Application, under “Resort Improvements” was the following
statement:

      3.    The Lodge is desirous of improvements to the two existing
            small bridges on the 3½ mile Sweetwater access road, and
            has requested the Forest Service to address this issue with
            the appropriate Forest Service personnel for approval of
            the same along with the indication of amount of financial
            participation by the Forest Service. The Lodge has referred
            the Forest Service to an independent contractor who has
            appraised the bridge situation and who will provide the
            appropriate professional recommendation for type of
            improvement. The intent is to strengthen the bridges for
            continued use by all public and Forest Service use, to
            contribute to their effective maintenance and to promote
            safe travel conditions for all individuals.

      The closing on The Sweetwater’s purchase contract with the Brannons
occurred on June 21, 1995. Jennifer Watson attended the closing to assist in
acquiring the papers needed to prepare a new Term Permit. The Term Permit was
executed on August 21, 1995, Bob Rossman for the Forest Service, signing as
“Acting Forest Supervisor,” and by Jeffrey Mummery for The Sweetwater. The
permit was for a term expiring December 31, 2014 and covered:



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                15.4 acres and is issued for the purpose of:

       Maintaining and operating a public resort providing the following:

               Facilities:   Lodge building with dining room and lounge, 5
                             cabins, manager’s residence, television satellite
                             system, 2500 feet of TV cable and antenna, water
                             and sewage systems, and utility lines.

               Services:     Rental of cabins, serving meals.

                             Day Use of Trail Rides 600 Service Days in
                             areas accessible from lodge, excluding
                             Wilderness portion of the Sweetwater
                             drainage

                             Day Use Fishing 200 Service Days from lodge in
                             Northfork Drainage.

               Products:     Sale of gift items
(Jt. Ex. 1.)

      The length of the term provided in the permit is based on the investment
involved. It is anticipated that the investment in improvements located on the Forest
lands can be amortized out through the period of the permit, although the Forest
Service policy was to renew Term Permits for public resort operations if the need for
the activity remained and the permittee was in compliance with the permit terms.

       The SUP obligated The Sweetwater to operate at least ninety-three days each
year and to pay an annual flat fee of $1,400 to the Forest Service. The Sweetwater
was required to insure its operations, name the United States as a co-insured, and
indemnify the United States in the event any liability arose related to The
Sweetwater’s operations. No provision for maintenance of Road 423 or
memorandum of understanding concerning road maintenance, such as were included
in the Brannon[s’] SUP, were included in The Sweetwater’s SUP.

       The Sweetwater SUP includes a termination provision as follows:

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       15.       If during the term of this permit or any extension thereof,
                 the Secretary of Agriculture or any official of the Forest
                 Service acting by or under his authority shall determine
                 that the public interest requires termination of this permit,
                 this permit shall terminate upon thirty days’ written notice
                 to the permittee of such determination, and the United
                 States shall have the right thereupon to purchase the
                 permittee’s improvements, to remove them, or to require
                 the permittee to remove them, at the option of the United
                 States, and the United States shall be obligated to pay an
                 equitable consideration for the improvements or for
                 removal of the improvements and damages to the
                 improvements resulting from their removal. The amount
                 of the consideration shall be fixed by mutual agreement
                 between the United States and the permittee and shall be
                 accepted by the permittee in full satisfaction of all claims
                 against the United States under this clause: Provided, That
                 if mutual agreement is not reached, the Forest Service shall
                 determine the amount and if the permittee is dissatisfied
                 with the amount thus determined to be due him he may
                 appeal the determination in accordance with the Appeal
                 Regulation (35 C.F.R. 251 Subpart C) and the amount as
                 determined on appeal shall be final and conclusive on the
                 parties hereto; Provided further, That upon the payment to
                 the permittee of 75% of the amount fixed by the Forest
                 Service, the right of the United States to remove or require
                 the removal of the improvements shall not be stayed
                 pending final decision on appeal.
(Jt. Ex. 1/3.)

       The Sweetwater devoted the remainder of the season in 1995, to site cleanup
activity. A large amount of debris that had accumulated in the later years of the
Brannons’ operation was collected from the site and removed. Upon acquiring The
Sweetwater Lodge from the Brannons, Mr. Mummery received requests to list the
operation for sale. He authorized Sommers & Voerding Real Estate Brokerage to
prepare a 5-page brochure offering Sweetwater Lodge “at a list price of $595,000.00.”
(Def.’s Ex. 34.) In November or December of 1995, Daren J. Singer and William

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Bram Lassiter attempted to perfect a claim for spring water from a source on the site,
that they wished to bottle and sell. In ensuing discussions with Mr. Mummery about
the claim attempt they expressed an interest in buying the property. Mr. Mummery
quoted a price of $600,000 to $650,000, which was not accepted.

       During the clean-up operations, Mr. Mummery was visited by a friend who was
a lawyer and who resided in Ann Arbor, Michigan. The friend had a client, Carl
Bixby, who was a “big time fly fisherman” and Mr. Mummery’s friend considered the
lodge was a place Mr. Bixby would want to spend a week and go fishing. Several
witnesses in this litigation confirmed that Sweetwater Creek presented excellent
fishing opportunities. In November or December of 1995, Mr. Bixby contacted Mr.
Mummery and discussed a visit but then inquired if the lodge was for sale. Mr. Bixby
operated a computer company and with his connections considered he could market
the lodge to persons in the computer industry as a place to vacation or for
conferences.

       On February 17, 1996, Carl Bixby, d/b/a Atlantis Three, a Michigan
corporation and the owners of The Sweetwater (Western Wyoming Properties &
Investment Corporation, a Wyoming corporation and Anglo-American Land
Development Association, a Florida Partnership) entered into a contract to sell to Carl
Bixby, d/b/a Atlantis Three all outstanding ownership interest in The Sweetwater –
A Wilderness Lodge, LLC together with the stock in the company which held the
liquor license issued by Park County, Wyoming permitting the sale and consumption
of alcoholic beverages at The Sweetwater. The purchase price was $600,000.
Closing was set for August 21, 1996.

       An agreement was reached that pending the closing, Mr. Bixby would pay the
operating costs of The Sweetwater and do the marketing for guests. A cook was hired
and a manager, Monte Jackson, was retained. Mr. Bixby paid some $71,500 in
operating expenses. However, Mr. Bixby encountered trouble with his business, lost
focus on the lodge and did not provide guests other than himself and his family on
several occasions. He failed to close on the sale contract in August of 1996 and
forfeited his down payment. In September of 1996, Jennifer Watson traveled to The
Sweetwater Lodge to check on the operation and encountered a big horn sheep hunter
alongside the creek who noted that he was there on several occasions but did not see
any public use of the facility. The Sweetwater Term Permit was for the operation of
a “Public Resort” for at least 93 days each year. Ms. Watson drafted a note for the

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Forest Service file concerning her contact with the sheep hunter, but did not contact
Mr. Mummery or otherwise take any action to complain about The Sweetwater’s
operation or lack thereof.

       True to the intention he expressed when discussing The Sweetwater bridges
with Wanda Smith, Jim Fischer, the Shoshone Forest Official responsible for
obtaining capital investment funds via the Regional Office in Denver, reinstated the
Sweetwater bridges project into the Forest’s Program in FY 1996. His records state
that the bridges were proposed for design work in FY 1998 and for construction in
FY 1999. (Jt. Ex. 2/4.) The 1992 submission for Sweetwater bridge replacement
funds was amended to now seek $230,000, with no contribution by The Sweetwater
contemplated. (Jt. Ex. 10.) In August of 1996, there was a change in the
administration of the Shoshone National Forest with Rebecca Aus replacing Barry
Davis as the Forest Supervisor. Also a new District Ranger for the Wapiti District,
Brent Larson, replaced Bob Rossman effective October 1, 1996, with Mr. Rossman
assuming a position as the Environmental Coordinator for the Shoshone Forest. Ms.
Aus orally canceled the delegation authority Mr. Davis had previously granted lower
level officials to act on Term Permit matters for the Supervisor. In late September or
early October 1996, Mr. Rossman brought Mr. Larson to meet Mr. Mummery at The
Sweetwater Lodge site. During the meeting Mr. Larson, as a result of his trip up
Road 423, inquired if Mr. Mummery had plans to fix up the road and received Mr.
Mummery’s response that it was a Forest Service road not a Sweetwater Lodge road.
Mr. Mummery again inquired whether traffic on Road 423 could be privatized and
limited to Sweetwater Lodge activity so he could fix it up, and Mr. Larson indicated
this was not possible.

       As a result of The Sweetwater Lodge sale brochure prepared by Sommers &
Voerding (Def.’s Ex. 34), in January of 1997, a couple from Florida, Raymond S. and
Judi S. Sutherland expressed an interest in buying the facility. Mr. Sutherland was
a retired executive and Mrs. Sutherland was interested in cooking. Mr. Mummery
provided the couple a site visit and Mrs. Sutherland, upon inspection of the facilities,
considered the lifestyle was what they wished for their retirement. On January 27,
1997, the Sutherlands and Mr. Mummery on behalf of The Sweetwater, A Wilderness
Lodge, LLC, executed a contract providing for the Sutherlands to purchase the
“[p]ersonal property consisting of buildings, equipment, fixtures, furniture, inventory,
etc. situated on a U.S. Forest Service permit designated area.” (Jt. Ex. 9.) The
purchase price was $595,000, contingent upon the Sutherlands, “[r]eceiving

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preliminary approval from the U.S. Forest Service concerning the issuance of a permit
to operate the property.” A $5,000 escrow was to be established from the purchase
price at closing “to be released to Seller at such time as the US Forest Service access
road to the property is repaired to permit single lane passenger automobile travel.”
In the event the road was not so repaired by May 1, 1997, the $5,000 could be used
by the Sutherlands for this purpose. (Id.)

      On January 27, 1997, the Sutherlands, Mr. Mummery, Mr. Sommers of
Sommers & Voerding, and Monte Jackson, the Lodge Manager, met with Jennifer
Watson, the Forest Service Permit Administrator. Ms. Watson prepared a hand
written memorandum of the meeting for the file (Def.’s Ex. 36) noting that, at the
meeting, the items required in order to transfer a resort permit were covered. The
permit application checklist was discussed item by item. Ms. Watson provided all
necessary forms. The meeting memo notes that the access roads and bridges were
discussed and concludes “I explained that FS funds for bridge repair would not be
available.”

       The Sutherlands retained a local lawyer, Scott Kath, to assist in the sale
transaction. Jennifer Watson contacted the Forest Engineer, Jim Fischer, to inquire
about the condition of Road 423 and The Sweetwater Creek bridges. On February 14,
1997, Mr. Fischer sent Ms. Watson copies of the 1992 Bridge Inspection Reports on
which he added several explanatory notations. Mr. Fischer provided a hand-written
cover note to Ms. Watson in which he stated “[w]e did not inspect the two upper
bridges in 94 or 96 – they were basically condemned in 92.” (Jt. Ex. 7.) Mr. Fischer
placed 1997 notations on the 1992 Inspection Reports to explain the numerical code
used. For example, a “2” code translated to “inadequate, should be closed.” Both
bridges had several “2” ratings. Ms. Watson provided Mr. Fischer’s entire
submission, cover note to her included, to the Sutherlands or their counsel, Mr. Kath.
Mr. Kath telephoned Mr. Mummery and indicated that the recommendation to buy
the lodge was in question because the bridges have been condemned. Mr. Mummery
called Mr. Sommers and Brent Larson to ascertain what was occurring. Mr. Larson
on February 20, 1997, wrote the Sutherlands a letter to clarify the situation. In
relevant part the letter stated:

      This letter is intended to clarify issues surrounding the inspection
      reports provided to you yesterday on the three bridges which provide
      access to the Sweetwater Wilderness Lodge.

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      The statement that the bridges crossing the Sweetwater Drainage are
      condemned is not correct. When the bridges were last inspected in
      1992, several of the bridge components were given a rating code of “2”.
      This code indicates a deficiency which may be dealt with through load
      limit restrictions. As a point of reference, a bridge which is condemned
      would have a code of “0”, and would be immediately closed to all
      traffic.

      While the Shoshone Forest clearly desires to maintain access in the
      Sweetwater Drainage, that access would more likely become seasonal
      fords of the Sweetwater River should the condition of the bridges
      deteriorate to the point where they can no longer be used. As explained
      in previous discussions, this is because funding for replacement of these
      bridges is not currently available, and the liklihood [sic] of obtaining
      adequate funding to replace these bridges in the future is low.

       When Jeff Mummery purchased this lodge several years ago, the
       condition of the bridges was an issue at that time. He agreed that fords
       would be an acceptable alternative for access to the lodge should the
       bridges either fail or become unsafe. Whether this method of access will
       be adequate for you and your proposed business at the Sweetwater
       Lodge must figure into your business plans.
(Jt. Ex. 11.)

       Further discussions between Mr. Mummery and the District Ranger, Mr.
Larson resulted in Mr. Larson’s letter, dated February 27, 1997, to Mr. Mummery
stating:

      This letter is to clarify the Shoshone Forest’s position in regards to the
      bridges across Sweetwater Creek on Forest Development Road Number
      423. This road provides access to National Forest lands on the
      Sweetwater Drainage as well as the Sweetwater Wilderness Lodge.

      The most recent inspection of the two bridges across Sweetwater Creek
      found deficiencies and recommended replacement of these bridges in
      order to ensure long term access to the Forest in this area. Replacement
      bridges for these two bridges crossing Sweetwater Creek are currently

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      included in the Forest’s Capital Improvement Program for FY 1999.
      However, this funding is subject to Congressional approval and I cannot
      guarantee that it will be available at that time.

       It is the Forest’s intention to continue to provide access to National
       Forest lands in the Sweetwater drainage. Should the existing bridges
       crossing Sweetwater Creek deteriorate to the point where they can no
       longer be used before money is available for their replacement,
       alternative solutions to provide access to the area will be explored at that
       time. Alternatives could involve the construction of temporary fords to
       serve as access while pursuing any emergency funding sources available
       for more permanent solutions. The need for adequate access to the
       Sweetwater Lodge which is permitted under the Term Permit Act of
       1915 will be taken into consideration in all alternatives considered.
(Jt. Ex. 12.)

        The clarifications by the Forest Service did not satisfy the Sutherlands and the
$595,000 sale collapsed. Mr. Mummery was also not satisfied. He considered that
the representations as to bridge conditions that had been disclosed to the public
prevented him from operating the lodge until the two bridges were replaced or,
otherwise, made safe, and so represented in writing by the Forest Service. The
Shoshone National Forest was now seeking $230,000 in Capital Investment Funds
for this bridge replacement project. Mr. Mummery’s Reports to the Forest Service
as to income from permit operations from 1998 and 1999 listed “0” income and stated
the lodge was closed due to roads or due to inadequate road access. Forest Service
personnel did not raise objections to Sweetwater’s lack of operations. This was the
period of time that the Yellowstone Highway was being reconstructed and the
resulting traffic delays had negatively impacted business for the eleven lodges in the
Shoshone National Forest located within ¼ mile of the construction on the highway.
Mr. Larson and Ms. Watson were content to let Sweetwater Lodge remain closed
while this work progressed. Mr. Mummery was persistent in his inquiries with Ms.
Watson or Mr. Larson concerning the status of the funding request for bridge
replacement.

      Although the project to replace the Sweetwater bridges had been reinstated in
the Forest’s Capital Investment Program, Mr. Larson, the District Ranger, was not
enamored of spending Forest Service money to improve Road 423 and the bridges.

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Mr. Larson with the assistance of Chuck Neal, a “Terrestrial Ecologist” located in
Cody, Wyoming proposed obtaining a “conservation buyer” to acquire The
Sweetwater Lodge facilities. If a conservation buyer, such as The Greater
Yellowstone Coalition, acquired The Sweetwater Lodge, the facilities could be
removed and the Forest Service would no longer need to replace the bridges or incur
road maintenance expense. Mr. Neal prepared “An Ecological Overview” to assist
in locating a conservation buyer. The Overview (Pl.’s Ex. 18) explained its contents
and purpose with the following opening description:

             This report is concerned primarily with the lower several miles of
      the Valley (that part outside the wilderness designation which surrounds
      it on three sides). The Sweetwater watershed is overwhelmingly
      roadless except for the approximately three miles of a periodically
      graded dirt road which leads to the Sweetwater Lodge consisting of a
      main lodge, managers house and five small cabins (22 person capacity,
      which is currently for sale). This road requires a bridge crossing over
      the North Fork of Shoshone River and two bridge crossings of the
      Sweetwater Creek. The road is a Forest Service (FS) road and the FS
      has reacted positively to a suggestion that the road, bridges and lodge be
      removed if funds could be acquired to buy the lodge; hence this brief
      report.

The Overview comments that Sweetwater Creek is an important spawning tributary
and nursery stream for Snake River Cutthroat and Yellowstone Cutthroat, Rainbow
Trout and Mountain Whitefish which would improve “without the sediment-
producing road.” The Overview concludes with the comment that “[t]here seems
little doubt that there will be significantly greater use of this resource-rich Valley by
the grizzly bear without the presence of the road, Lodge and accompanying vehicular
traffic and general human presence.”

      The District Ranger, Mr. Larson, discussed the conservation buyer proposal
with the Forest Supervisor, Ms. Aus, and received an encouraging response. Ms.
Aus, who had the erroneous view that The Sweetwater could operate the lodge
without bridge access on a permanent basis, by using fords, and that Mr. Mummery
had so agreed in 1995, placed a very low or non-existent priority on replacement of
the Sweetwater bridges, at least for the term covered by The Sweetwater’s permit.
Ms. Aus placed her spending priority on addressing the Forest’s $24,000,000 general

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maintenance backlog. During a trip to the Shoshone National Forest by the Regional
Forester from Denver, Colorado, Mr. Larson discussed the conservation buyer
approach with him and also received an encouraging response. Mr. Mummery had
no objection to the purchase of Sweetwater Lodge at a market price by a conservation
buyer, but was skeptical that such a buyer could be located. During the search for a
conservation buyer the Forest’s request for Sweetwater bridges replacement funds
remained active. In 1999, Mr. Fischer, the Forest Service Official in charge of the
Capital Investment Program, received information from the Region that funds to
replace the two Sweetwater bridges were available in the approved FY 2000 budget.

      Upon receipt of information that the requested Sweetwater bridge replacement
funds were available, the District Ranger, Mr. Larson, conferred with Mr. Fischer and
they decided that the bridge replacement funds should be rejected pending resolution
of the conservation buyer approach, which, if successful, would obviate bridge
replacement. Mr. Fischer informed the Region of this decision. Mr. Mummery, who
continually inquired about the status of the Forest’s funding request, was not
informed that bridge replacement funds were available but had been rejected by the
Forest. No conservation buyer was located.

       In 2000, Mr. Mummery decided that Sweetwater would do some work on the
two bridges in order to attempt to provide the access needed to operate the lodge. A
meeting was scheduled at the site and the District Ranger requested Thomas Koenig
to attend on behalf of the Forest Engineer. Mr. Koenig, a civil engineer, had recently
reported to the Forest and the Forest Engineer had assigned him to inspect the
Sweetwater bridges. At that time Mr. Koenig informed the Forest Engineer that Road
423 required substantial work to correct deficiencies causing washing of sediment
into the creek and that if the bridges were to be replaced, the road work should also
be accomplished. At the site meeting with Mr. Mummery, Mr. Koenig discussed the
road deficiencies and the bridge conditions and suggested that Mr. Mummery hire a
private engineer to inspect and load rate the bridges before he made any investment
in trying to improve their condition. Mr. Mummery arranged for an engineer to
inspect the bridges and the inspection occurred in January of 2001. On January 15,
2001, Russell R. Taylor, PE, submitted his conclusions which included the sentence,
“[q]uite simply, the structures are past due for replacement and I can see no
economical benefit in trying to reuse any of the structure in a rehabilitation effort.”
(Jt. Ex. 15.) Mr. Taylor stated that “I am unable to arrive at any rationale for arriving
at any reasonable load capacity rating.” (Id.) Mr. Fischer asked Mr. Koenig to write

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a brief report which was accomplished by April of 2001. The three page report (Pl.’s
Ex. 56) concluded:

      Cost to replace all three bridges on FDR 423 and make necessary
      structural improvements to the road could easily exceed $500,000. The
      limited public use and Forest Service administrative use of FDR 423
      does not justify the high cost necessary to keep the road open. Without
      the Sweetwater Lodge at the end of the road, a significant portion of the
      FDR 423 would probably have been closed long ago.

       When it was confirmed by Mr. Taylor that the bridges could not be load rated,
Ms. Aus determined they should be closed as Forest Service policy required load
rating for a bridge to be open to the public. The Sweetwater bridges had not been
load rated since 1974 but had not previously been closed by the Forest Service. On
April 3, 2001, the Forest issued the following Press Release (Pl.’s Ex. 31):

               Unsafe bridges force closure of Sweetwater Road

      Due to the unsafe condition of two bridges, the Sweetwater Road that
      runs from Wapiti Campground on the North Fork of the Shoshone River
      up along Sweetwater Creek to Sweetwater Lodge will be closed to
      motor vehicle traffic effective April 5. The road will remain open to
      foot traffic by hikers and horseback riders.
      Forest Supervisor Becky Aus implemented a closure order after
      engineers inspected the two bridges on Sweetwater Road and found that
      the decks and abutments have deteriorated to the point that they can’t
      safely carry motorized vehicles or horses.
      The bridge crossing the North Fork River at Wapiti Campground will be
      gated to vehicular traffic but will allow for the passage of foot and horse
      traffic, according to Wapiti District Ranger Brent Larson. However,
      Larson advises horseback riders to use caution and suggests that they
      ford the stream rather than use the bridges crossing Sweetwater Creek.
      ‘There are some holes in the planking, which is in very bad shape.’ he
      said.
      Larson said both the road and the bridges have been deteriorating for
      several years, but the cost or [sic] repairing them has been prohibitive.



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      ‘We’ve looked at replacing the bridges and upgrading the road, but we
      simply haven’t had the money,’ he said. ‘It’s conservatively estimated
      it would cost more than $500,000 to bring the road and bridges up to
      standard. It is difficult to justify spending that kind of taxpayer money
      on a 3.5-mile road that provides access to a lodge.
      ‘We’re looking at several options. These include repairing the road
      ourselves, turning the road over to the lodge owner or possibly
      abandoning the road.’
      Larson said that if the road is not repaired to provide safe passage for
      customers, then it would be difficult for the Sweetwater Lodge to
      operate.

       Expert testimony presented at the trial of this case from a local bridge builder
with an excellent reputation for quality work, Wayne B. Baker, Tin Cup Enterprises,
LLC, established that the cost in 2005 to construct two replacement bridges over
Sweetwater Creek, including preparing their approaches, would be $101,348.00. The
cost in 2000 was estimated to be $85,000. (Pl.’s Ex. 68; Tr. 2888-2918.)

       Following the closure of Forest Service Road 423 in April of 2001, Mr.
Mummery had a number of discussions about the situation with the District Ranger,
Mr. Larson. Mr. Mummery also contacted the Wyoming Congressional Delegation
in an attempt to reach a solution. The Shoshone National Forest officials, including
Ms. Aus and Mr. Larson met with field representatives of the congressional
delegation. The discussions covered several possibilities such as the revocation of
Sweetwater’s permit in the public interest, a conservation buyer, and voluntary
relinquishment of the permit. The Forest Service agreed to pursue an appraisal of the
property. Also discussed between Mr. Larson and Mr. Mummery was the possibility
of changing the lodge to a wilderness lodge experience where access would be by
horseback. Mr. Mummery promptly rejected this possibility after obtaining a
message from his bank, that without access to the lodge by vehicle, including
emergency vehicles, the assets (buildings and improvements) would be uninsurable
and valueless as collateral. (Pl.’s Ex. 32.) Mr. Mummery also stated he had no
intention of relinquishing The Sweetwater permit except upon the payment of
compensation and, in this regard, was in favor of a termination of the permit in the
public interest.




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       Jennifer Watson was assigned the task of arranging for an appraisal of The
Sweetwater Lodge property and contacted Mark S. Sonderby, ARA, SRA, Forest
Service Review Appraiser, for this work. The appraisal was to provide information
to be used in an evaluation of permit termination compensation or, perhaps, to obtain
the sum needed for any special appropriation which might be proposed for action by
the congressional delegation.

       On August 16, 2001, after a conference with the Office of General Counsel,
Gary Reynolds, Ms. Watson’s supervisor, sent a message to Mr. Sonderby stating, in
part, “please STOP working on this project as our Forest Supervisor has decided not
to appraise. The main problem with appraisal is that we have no way to finance a
purchase of the improvements.” (Pl.’s Ex. 34.) No appraisal was accomplished.

      In October of 2001, the Forest Service Regional Office in Denver, Colorado
requested a status or action plan on the structurally deficient bridges in the Shoshone
National Forest, including the two Sweetwater bridges. The Region stated that it
wished to include one or more per year of the Shoshone deficient bridges in a
program of work over the next five years. Thomas Koenig promptly responded that
none of the Sweetwater bridges should be programmed for replacement with Forest
Service Funds. Mr. Koenig’s response (Pl.’s Ex. 35) stated (in relevant part):

      All three Sweetwater bridges are currently closed to vehicle traffic. We
      want to convert 423-1-0.2 to a trail bridge and remove bridges 423-1-2.5
      and 423-1-3.0. Legal issues remain to be settled with the Sweetwater
      lodge permit holder before the bridges are removed and the road closed.
      Bridge 423-1-0.2 is in very good shape. The reason that it rates out so
      low is that it is a trail bridge that was installed on a road (I have no idea
      why).

       On December 21, 2001, the Forest Supervisor, Ms. Aus, sent a Notice of Non-
Compliance and Opportunity to Cure to The Sweetwater. Ms. Aus noted that the
Term Permit under which The Sweetwater operates, requires its operation as a public
resort for a minimum of 93 days each year. Ms. Aus noted that except for 1995 and
1996, “the lodge has not provided any public services.” (Jt. Ex. 21.) Ms. Aus stated
that “. . . the Forest Service has not accepted the responsibility to provide access.
Access remains your responsibility.” (Id.)



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       The Sweetwater was warned that revocation of its permit was possible and to
preclude this, a plan of operation of the lodge as a public resort with adequate access
for at least 93 days per year was requested. On May 1, 2002, The Sweetwater
submitted an operating plan which proposed a significant expansion of the permitted
area and activities. By letter, dated May 28, 2002, The Sweetwater submitted to
Rebecca Aus a claim for over $2,500,000, under the provisions of the Contract
Disputes Act, 41 U.S.C. § 601 et seq., comprising out-of-pocket costs and lost profits
related to the 1997 operating season and thereafter and including the replacement cost
of the lodge assets. By letter, dated July 16, 2002, a Forest Service official, signing
for Ms. Aus, responded to The Sweetwater’s proposed expanded operating plan by
noting that it would require proceedings under the National Environmental Policy Act
(“NEPA”). The response addressed crossing Sweetwater Creek with the two
proposed options. The first option was the construction of fords in fiscal year 2003.
The second option was funding bridges under the Capital Investment Program under
which the Forest Service would agree to insure that the reconstruction would be at the
top of the Forest’s request for funds. Both options were conditioned on The
Sweetwater waiving all current, and future, claims for damages. By letter, dated July
22, 2002, Ms. Aus responded to The Sweetwater’s Contract Disputes Act claim
denying that the permit governing The Sweetwater’s operations is a contract, and
asserting that no obligation to pay money damages in connection with disputes exists.
This litigation then ensued.

                                   DISCUSSION

       Were it not for the existence of clause 15 in the 20-year Term Permit executed
by the Acting Forest Supervisor and The Sweetwater on August 21, 1995, the facts
established in this litigation would support a conclusion that authorized Forest
Service actions resulted in a taking of The Sweetwater’s improvements, located on
the 15.4-acre site at the terminus of Forest Service Road 423, which would require
the payment of just compensation by the United States.

       The Sweetwater Term Permit restricted activity on the site it covers to the
operation of a “public resort.” The evidence submitted in this litigation established
that a public resort could only be viably operated on the site covered by the permit if
there was access to the site by vehicles driven by the public. For the required
crossings of Sweetwater Creek, bridges were needed and utilized by the public for
access to the site covered by the permit. In the event of a bridge washout, fords could

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be used on a temporary basis to gain access to the site pending bridge repair or
replacement, but a public resort could not be viably operated on the site using fords
to cross Sweetwater Creek on a permanent basis. At the time the Term Permit for the
site was executed by The Sweetwater and the Forest Service, thereby superseding the
Brannons’ permit, all parties were aware that bridge access for the public over
Sweetwater Creek had been the mode of operation for this public resort. Even under
the Brannons’ operation of the site, when there was a Memorandum of Understanding
as to road maintenance in effect between the Brannons and the Forest Service, the
Forest Service assumed responsibility for the Sweetwater bridges. In 1992, before
the Brannons’ permit for the site was superseded by The Sweetwater’s, the Forest
sought appropriated funds to replace the two Sweetwater bridges with no contribution
from the Brannons contemplated. After The Sweetwater held the permit, the Forest
continued to seek and actually obtained, but then rejected, appropriated funds
sufficient to replace the two Sweetwater bridges, with no contribution from The
Sweetwater contemplated.

       Accordingly, the Forest Service determination in April of 2001 to close the
Sweetwater bridges, coupled with the determination not to fund their replacement and
most likely, instead, to remove the bridges, and turn Road 423 into a trail, effectively
stranded The Sweetwater’s investment in the permit site improvements. There
existed no feasible way that The Sweetwater could thereafter recover its investment
by the operation of a public resort on the permit site during the remainder of its 20-
year term – the only activity allowed and required by the permit. The Wanda Smith
and Sutherland truncated sales attempts demonstrated that the assets on the site were
simply not salable without adequate access to them by vehicle.

      The buildings and site improvements in which The Sweetwater invested cannot
be removed from the site and at the end of the permit term would remain and become
Forest Service property. If the buildings are then destroyed and the site restored, this
may well occur at plaintiff’s expense, as provided by clauses 11 and 39 of the permit.

       In resolving whether, absent clause 15 considerations, the Forest Service
actions to close the Sweetwater bridges and not fund their replacement would result
in a taking of The Sweetwater’s assets on the permit site, the inability of The
Sweetwater thereafter to recoup its investment, or better, is relevant. Rith Energy,
Inc. v. United States, 247 F.3d 1355, 1363 (Fed. Cir. 2001). As the permit allows
only the operation of a public resort and the elimination of the bridges to the site

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precludes a viable operation of a public resort, The Sweetwater has no means to
recover its investment or, in fact, to recover its daily expenses, or the expenses it may
incur to demolish the improvements and restore the site. This consequence of Forest
Service bridge elimination action points to a taking.

       Also, as stated in Armijo v. United States, 229 Ct. Cl. 34, 37, 663 F.2d 90, 93
(1981), “[t]here are two well recognized situations where the government will be held
to take without any formal expropriation or physical invasion. One is the actual
cutting off of access.” See White Sands Ranchers of New Mexico v. United States, 14
Cl. Ct. 559 (1988). The Forest Service decisions to close the bridges and not to fund
their replacement cut off all access to the permit site that was required to operate a
public resort, the only activity allowed and required. This action points to the
existence of a taking. See Bydlon v. United States, 146 Ct. Cl. 764, 175 F. Supp. 891
(1959) (banning access by air, a way of necessity, to remote resort); Drakes Bay Land
Co. v. United States, 191 Ct. Cl. 389, 424 F.2d 574 (1970) (acquisition of land across
only feasible access route); Pete v. United States, 209 Ct. Cl. 270, 531 F.2d 1018
(1976) (taking of land necessary to the operation of cabin barges on land-locked
lake); Laney v. United States, 228 Ct. Cl. 519, 525, 661 F.2d 145, 149 (1981)
(blocking access to an island).

       Citing cases such as American Pelagic Fishing Co. L.P. v. United States, 379
F.3d 1363 (Fed. Cir. 2004) defendant asserts that plaintiff possessed no property
interest in either the permit or, the operation of lodge and improvements on Forest
land, and as a result no taking could occur from Forest Service actions. The situation
involved with The Sweetwater is not similar to that of American Pelagic. In
American Pelagic, it was held that by acquiring title to the Atlantic Star, a fishing
vessel, American Pelagic did not acquire the right to fish for Atlantic mackerel in the
Exclusive Economic Zone and thus did not possess the property right that it asserted
formed the basis for its taking claim. In The Sweetwater situation there is no question
that The Sweetwater possesses a property right in the improvements on the 15.4-acre,
government-owned site covered by the permit. Clause 12 of the permit expressly
permits a sale of the site improvements and the action to be taken with respect to a
permit upon a transfer of ownership. Clause 15 requires that compensation be paid
if the Forest Service terminates the permit in the public interest. Clause 14 of the
permit conditions revocation of the permit “upon breach of any of the conditions
herein.” Under clause 11 of the permit the improvements, if not demolished,
eventually become the property of the United States and the site must be restored. In

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American Pelagic and similar cases, there is no assertion that the government caused
inability to carry out a viable operation under the permit involved can result in
ownership by the United States of the assets involved, together with a financial
obligation to pay for their destruction. American Pelagic does not address the
situation faced by The Sweetwater and does not support the government’s argument
that no taking is possible.

       However, in the circumstance where a factual situation can arguably support
a taking claim, but is also covered by a provision in a document agreed to by the
parties, it is generally held that the parties’ agreement forms the basis for the claim.
Castle v. United States, 301 F.3d 1328, 1342 (Fed. Cir. 2002); Hughes Commc’ns
Galaxy, Inc. v. United States, 271 F.3d 1060, 1070 (Fed. Cir. 2001); Sun Oil Co. v.
United States, 215 Ct. Cl. 716, 770, 572 F.2d 786, 818 (1978). The same situation
controls when the parties enter into an agreement which substitutes a compensation
provision for a circumstance which would, otherwise, give rise to a breach of contract
claim. See Gen. Builders Supply Co., Inc. v. United States, 187 Ct. Cl. 477, 409 F.
2d 246 (1969); G. C. Casebolt Co. v. United States, 190 Ct. Cl. 783, 786, 421 F.2d
710, 712 (1970).

       Clause 15 of the Sweetwater permit provides that if, during its term, the Forest
Service terminates the permit in the public interest, “the United States shall be
obligated to pay an equitable consideration for the improvements. . . .” The clause
provides for the amount of the consideration to be fixed by mutual agreement and if
agreement cannot be reached for the Forest Service to determine the amount, subject
to an appeal by The Sweetwater if it is dissatisfied with the amount determined.
While the Forest Service at no time issued a formal determination of permit
termination, the actions taken by authorized officials, including the Forest Supervisor,
to eliminate the Sweetwater bridges, in the public interest, thereby precluding the
viable operation of a public resort on the site, had the same effect as a formal
termination determination. The circumstance that the termination of the permit for
a public resort was accomplished by actions to eliminate needed access, rather than
by a formal document, should have no bearing on a resulting obligation of Forest
Service to pay an equitable consideration for The Sweetwater’s improvements. See
Wetsel-Oviatt Lumber Co., Inc. v. United States, 38 Fed. Cl. 563, 569 (1997); Best
Foam Fabricators Inc. v. United States, 38 Fed. Cl. 627, 638 (1997). This
termination remedy was agreed to by the parties when the permit was executed in
1995 and, thus, supersedes any remedy The Sweetwater may otherwise have for

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denial of needed access on a taking theory. While the Forest Service took initial steps
to obtain an appraisal of the site improvements which could be used for clause 15
purposes; the appraisal work was stopped after consultation with counsel and no
determination of an equitable consideration amount was made. The action of the
Forest Service in deciding not to determine an amount for clause 15 compensation
which The Sweetwater could then accept or appeal, if not satisfied, served to
eliminate any possibility for an administrative resolution of the controversy and
judicial review thereof.

       In arguing against any compensation, the government asserts the Forest Service
had a right to revoke The Sweetwater permit because prior to the bridge closings,
particularly in 1996, The Sweetwater did not operate the site as a public resort and
also failed to notify the Forest Service of the transactions with Carl Bixby. The
Sweetwater blames the absence of public use in 1996 on the failure of Mr. Bixby to
market the resort, although it was open to the public for guests. As for notice to the
Forest Service, clause 51 of the permit requires notification, “when a sale and transfer
in ownership of the permitted improvements is planned.” The Sweetwater-Bixby
transaction was for a sale of the ownership of The Sweetwater. The Sweetwater
would continue to own the improvements. Clause 52 requires notification of change
in The Sweetwater’s ownership, but “within fifteen (15) days of the . . . changes.”
The Bixby deal never closed. Undoubtedly it would be better practice to keep the
Forest Service informed as to all contemplated transactions, but the permit did not
require a notice concerning the Bixby transactions, and the failure to notify the Forest
Service does not provide a valid basis upon which to revoke the permit and deny
termination compensation. Moreover, Forest Service Regulations, 36 C.F.R. §
251.60(e), require prior notice to the permittee and an opportunity to cure prior to
revocation action. During this period of time, the Forest Service, because of
Yellowstone Highway construction, did not require The Sweetwater to operate and
did not provide any notice of proposed revocation of the permit for failure to operate.

      Having determined that The Sweetwater permit was terminated by Forest
Service actions, effective in April of 2001, and that no valid grounds existed for prior
revocation of the permit, the next task is to determine the equitable consideration
amount due The Sweetwater.

       In the unpublished order denying summary judgment motions in this matter,
filed December 30, 2004, it was stated at slip op. at 11, that “[a]dopting the analysis

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set forth in Son Broadcasting, Inc. v. United States, 52 Fed. Cl. 815 (2002), it is
concluded that the August 21, 1995 SUP is sufficiently contractual in nature to
support jurisdiction in this court, pursuant to 28 U.S.C. § 1491, over monetary claims
based on its terms.” Plaintiff has set forth “breach of contract” claims based on
asserted Forest Service misrepresentations, superior knowledge, and hindrance of
contract performance. A claim is also made for Permit Clause 15 compensation. The
misrepresentations and superior knowledge assertions are based mainly on the Forest
Service’s knowledge of, and limited representations concerning, the condition of the
Sweetwater bridges in 1995, as compared with the expanded disclosures made to the
Sutherlands in 1997. When the government has superior knowledge it cannot remain
silent with impunity. Hardeman-Monier-Hutcherson v. United States, 198 Ct. Cl.
472, 475, 458 F.2d 1364, 1372 (1972).

       The facts in the instant case demonstrate that, when asked, the Forest Service
provided full information to prospective purchasers of site improvements. This
occurred with Wanda Smith and with the Sutherlands. Mr. Mummery was
sufficiently aware of bridge conditions to discuss the access issue at his pre-permit
meeting with the Forest Service in June of 1995, but did not then seek access to the
Forest Service bridge records. There is every reason to assume that had access to
these records been requested they would have been made available, unlike the
situation in Hardeman-Monier-Hutcherson. Also, at the 1995 meeting Mr. Mummery
agreed that fords could be used on a temporary basis, until replacement funds could
be obtained, if the Sweetwater bridges failed. The time needed by the Forest to gain
funds was estimated to approach 3 years. The Forest Service did proceed to seek
bridge replacement funds in 1996 and obtained them in 2000. The change of Forest
administration in 1996 brought forward active opposition to the use of funds for
Sweetwater bridge replacement which resulted in the rejection of available funds in
2000 and the bridge closure in 2001. Thus, until the funds were rejected and the
bridges closed there was no active Forest Service hindrance with The Sweetwater’s
performance. The Sweetwater’s decision not to operate after 1996 was not opposed
until December of 2001.

       Accordingly, if it is concluded that The Sweetwater’s permit comprises a
contract on which a cause of action for its breach can be grounded, The Sweetwater
has not established that the permit was breached prior to the Forest Service actions
resulting in permit termination.



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       In resolving the amount of compensation due for the permit termination an
initial issue is whether the Contract Disputes Act, 41 U.S.C. § 601, et seq., is
applicable to plaintiff’s compensation claim. If the claim was correctly brought under
this Act, the recovery would include interest , measured from the receipt of the claim
by the contracting officer. 41 U.S.C. § 611. The Contract Disputes Act applies to
any executive agency express or implied contract for the procurement of services. 41
U.S.C. § 602(a)(2). The question then is whether The Sweetwater Permit is executed
for the procurement of services by the Forest Service. A respectable argument can
be made that the Forest Service is, by the permit executed by the parties, procuring
services from The Sweetwater to provide recreation activity to the public on federal
lands. However, the Federal Circuit has expounded a limited application of the term,
indicating that the procurement must be for the “direct benefit or use of the Federal
Government.” New Era Constr. v. United States, 890 F.2d 1152, 1157 (Fed. Cir.
1989). If the federal government owned the improvements and the permit involved
was for The Sweetwater to operate and maintain them for the government, the
Contract Disputes Act would cover The Sweetwater’s claim. Oroville-Tonasket
Irrigation Dist. v. United States, 33 Fed. Cl. 14 (1995). In the present situation, The
Sweetwater owns the improvements and the permit requires The Sweetwater to
operate a public resort, not to operate the improvements for the direct use of the
federal government. Thus, The Sweetwater’s claim is not covered by the Contract
Disputes Act. This, of course, has no impact on this court’s jurisdiction over the
claim as the Tucker Act, 28 U.S.C. § 1491, unlike the Contract Disputes Act, is not
limited in its contract coverage to only “procurement” contracts. Wesleyan Co., Inc.
v. Francis J. Harvey, Secretary of the Army, 454 F.3d 1375 (Fed. Cir. 2006).

       In resolving the amount of equitable consideration due The Sweetwater, since
the termination clause of the permit supersedes a taking claim the sums involved in
the two approaches should be somewhat equivalent. For example, compensation
under a termination for convenience of the government contract clause is equivalent
to the breach of contract claim it supersedes, with the exception of unearned
anticipated profit. John Reiner & Co. v. United States, 163 Ct. Cl. 381, 393, 325 F.2d
438, 444 (1963). The Sweetwater permit has no express provision for the recovery
of interest for a termination. Therefore, interest cannot be added to the amount found
to be equitable consideration. Library of Congress v. Shaw, 478 U.S. 310 (1986);
California Fed. Bank v. United States, 395 F.3d 1263, 1273 (Fed. Cir. 2005). The
equitable consideration can not be fully equivalent to just compensation awarded on
a taking claim, which includes interest for delay in payment, but can comprise the fair

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market value of the improvements as of the termination. See Kirby Forest Indus. v.
United States, 467 U.S. 1, 10 (1984).

       At the trial of this case, to assist the court in determining the value of the
Sweetwater improvements, each party presented a highly qualified expert witness
who had thoroughly investigated the market for the twelve North Fork lodges during
the relevant period of time. Plaintiff presented Mr. Que Mangus, a State of Wyoming
Certified Real Estate Appraiser, located in Cody, Wyoming with extensive experience
appraising North Fork lodges for local financial institutions. Defendant presented
John Frome, MAI, ARA, a Wyoming Certified General Appraiser, located in Afton,
Wyoming. Both expert witnesses testified that a sales comparison approach
presented the best indication of value. This approach involved gathering information
on sales of North Fork area lodges operated as public resorts on federal land,
comparing those sales to The Sweetwater property, adjusting for differences, and
reaching a resulting opinion of value.

       In developing his opinion of The Sweetwater’s value, Mr. Mangus relied upon
three sales for comparison:

      (1)    Absaroka Lodge, located along the Yellowstone Highway, having
             seventeen guest cabins, with a sale date of October, 2004 and a
             sale price of $1,325,000;

      (2)    Bill Cody Inn, located along the Yellowstone Highway, having a
             main lodge, eleven guest cabins and a chalet (fourteen units), with
             a sale date of July, 2004, and a sale price of $1,300,000;

      (3)    UXU Lodge, located along the Yellowstone Highway, having ten
             guest cabins, with a sale date of May, 2005, and a sale price of
             $1,350,000.

       In developing his opinion of The Sweetwater value, Mr. Frome used the same
Absaroka Lodge and Bill Cody Inn sales but also listed nine other sales including a
prior 1996 sale of The Bill Cody Inn for $850,000 and prior Absaroka Lodge sales
in 1997 for $1,100,000 and in 2000 for $1,200,000. Mr. Frome also listed The
Sweetwater sale in 1995 for $287,500 (five units) and a prior UXU Lodge sale in
1996 for $800,000.

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      In reaching his opinion that The Sweetwater had a value of $900,000 as of May
4, 2004, subject to a 4% annual downward adjustment to reach a value for an earlier
date, Mr. Mangus adjusted the three sale prices he utilized to reflect the different
number of housing units in each facility with a view toward obviating the price
decrease that occurs for sales having more units. The result of his adjustments
produced a range of value between $110,953 to $151,346 per unit. Mr. Mangus
placed most weight on the UXU Lodge sale at an adjusted $151,346 per unit but
lowered his choice for The Sweetwater to $150,000 per unit, “[b]ecause of the
indication from the other two sales. (Pl.’s Ex. 44 at 28.) Mr. Mangus considered The
Sweetwater comprised six units by including the chalet and the five cabins.

       Mr. Frome did not adjust the per unit sales prices for the differing number of
units, but on a time adjusted basis developed a range for comparison of $27,290 to
$89,290 per unit. For The Sweetwater value as of January 1, 2000, Mr. Frome’s
opinion was $67,000 per unit. Mr. Frome considered that there was only five units
and this produced an opinion that the value was $335,000, subject to approximately
a 3.6% annual adjustment for an earlier or a later value date. Mr. Frome did not
originally include the 2005 UXU Lodge sale for $1,350,000 in his calculations, but
submitted an updated calculation for a value of The Sweetwater as of June 27, 2005,
which did include this sale. Mr. Frome’s June 27, 2005 value was $415,000. A close
analysis of Mr. Frome’s calculations demonstrates that the values reached equate to
utilizing the $287,500 sale price for The Sweetwater in 1995, plus an annual market
increase of 3.6%.

       It is concluded that the approach utilized by Mr. Mangus offers a clearer view
of The Sweetwater value. The 1995 sale on which Mr. Frome’s calculations appear
to be grounded was a distress sale due to the failure of the prior sale to Wanda Smith
for $450,000 on which the Brannons had relied to their detriment. The Sweetwater
obtained a below market price sale in 1995. However, it is concluded that Mr. Frome
did utilize the correct number of units for The Sweetwater in his calculations. For the
operation of a public resort in this remote location there is a need for manager’s
quarters such as the chalet. The chalet is listed as a “manager’s residence” in The
Sweetwater permit. Thus, The Sweetwater has five guest units, not six. While Mr.
Mangus selected the high unit value of $150,000 per unit, based on a comparable
UXU Lodge sale, this is compensated for to a degree by a correction in The
Sweetwater units he utilized from six to five. According to the approach used by Mr.
Mangus, this would support a higher per unit price for The Sweetwater, because of

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the decrease in the number of units. Thus, accepting the Mangus figure of $150,000
per unit, the May 5, 2005 value for the five units equals $750,000. Reducing this
amount by 4% per annum to 2001, produces a value on the date of permit termination
of $637,010.

        The determination that The Sweetwater permit was terminated upon the closure
of the bridges and their effective elimination by the Forest produces the logical
conclusion that The Sweetwater, thereafter, was no longer responsible for
maintenance and upkeep on the improvements which cannot be removed and for
which the Forest Service must pay equitable consideration. The record evidence
shows the expenditures made by The Sweetwater after April 3, 2001. Mr. Mummery
testified that legal expenses for this litigation should be eliminated as well as
expenses for liquor required to be purchased in order for The Sweetwater to retain its
license to serve alcoholic beverages. Mr. Mummery indicated that he retains
possession of this supply. (Tr. 366, 393.)

      Accordingly, the chart below sets forth the amounts expended by The
Sweetwater from April 3, 2001 through December 31, 2004, as shown by the
evidence of record.

                         Apr. 3, 2001 -   $           23,716.38
                         Dec. 31, 2001

                             2002         $           37,394.30
                             2003         $           29,977.00
                             2004         $           51,458.00

                             Total        $          142,545.68



For the 45-month period involved, The Sweetwater’s expenditures averaged
$3,167.68 per month. The 45-month period for which records were available, and
admitted as evidence, is considered to comprise a sufficient period of time to establish
a reasonable expenditure pattern. Thus, in addition to $637,010 for the permit
termination as of April 3, 2001, The Sweetwater is entitled to recover, as a part of the
equitable consideration, its post-termination expenditures of $142,545.68 from April
3, 2001 to December 31, 2004, plus $3,167.68 each month thereafter until date of
judgment. Plaintiff’s claims to recover its expenditures prior to April 3, 2001, is


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rejected. The Sweetwater’s decision not to operate then was not contested by the
Forest, but it was not mandated by Forest Service actions. Moreover, the time
involved did not exceed the temporary period that Mr. Mummery was informed might
be needed to acquire bridge replacement funds, and during which he had agreed to
use fords, if bridges were not available. Thus, The Sweetwater’s determination not
to operate after 1996, may well have been a rational business decision, but not one
for which the Forest Service has financial responsibility. Of course, with its permit
terminated as of April 3, 2001, The Sweetwater could not be entitled to lost profits
thereafter.


                                  CONCLUSION


      For the foregoing reasons it is ORDERED that final judgment be ENTERED
against defendant and in favor of plaintiff for the following amounts and that the
judgment be paid under the following conditions:

      (a)    $637,010.00, consisting of equitable consideration for the value
             of plaintiff’s improvements located on the site covered by the
             permit, executed August 21, 1995, by the Forest Service and The
             Sweetwater and terminated by the Forest Service, effective April
             3, 2001;

      (b)    $142,545.68, consisting of plaintiff’s post-termination
             expenditures through December 31, 2004, also a portion of
             equitable consideration;

      (c)    $3,167.68 per month for each month after December 31, 2004,
             until payment of final judgment herein, also a part of equitable
             consideration consisting of plaintiff’s continuing post-termination
             expenditures; and

      (d)    that plaintiff may obtain payment of this judgment only upon
             tender of a deed or other appropriate document, in such form as
             the Attorney General, or his authorized representative, may deem
             necessary to assure that the defendant acquires valid ownership

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     of The Sweetwater’s improvements located on the 15.4-acre site
     covered by the permit. See Drakes Bay Land Co. v. United
     States, 198 Ct. Cl. 506, 509, 542, 459 F.2d 504, 505 (1972).




                                      s/ James F. Merow
                                      James F. Merow
                                      Senior Judge




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